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f                                                                            U.S-. DISTRICT COURI
                                                                         ■     SAVANNAH OIV.

                           UNITED STATES DISTRICT COURT                  20I8JUNI8 PMIZ^Zl
                          SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION                     CLERK-
                                                                               SO. DIST.«fiF GA.
      UNITED STATES OF AMERICA                          CR418-084


              V.




      YAMPIEL GRANJA SOTOLONGO


                          CONSENT ORDER OF FORFEITURE


           WHEREAS, on March 7, 2018, a federal grand jury sitting in the Southern

     District of Georgia returned a five-count Indictment against Defendant Yampiel

     Granja Sotolongo (hereinafter the "Defendant") and two others, charging a violations

     of 18 U.S.C. § 1029(b)(2) (Count One — Conspiracy to Fraudulently Use Access

     Device), 18 U.S.C. § 1029(a)(3) (Count Two ■ Possession of Fifteen or More

     Unauthorized Access Devices), 18 U.S.C. § 1029(a)(4)(Count 3 - Unlawful Possession

     of Device-Making Equipment), 18 U.S.C. § 1029(a)(5)(Count Four - Fraudulent Use

     of Access Devices), and 18 U.S.C. § 1028A(Count Five - Aggravated Identity Theft);

           WHEREAS, pursuant to a conviction of one or more of the offenses in Count

     One through Four of the Indictment, the United States sought forfeiture pursuant to

     18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), which allows for the forfeiture to the

     United States, any property constituting, or derived from, proceeds obtained, directly

     or indirectly, as a result of such violation(s), and any personal property used or

     intended to be used to commit the offense(s);
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